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                                                                             United States Bankruptcy Court
                                      UNITED STATES BANKRUPTCY COURT             Southern District of Texas
                                        SOUTHERN DISTRICT OF TEXAS                  ENTERED
                                                                                    May 15, 2023
In     Walker Hospitality LLC                                                    Nathan Ochsner, Clerk
Re:
       Debtor(s)                                        Case No.: 22−80095
                                                        Chapter: 7


                                              ORDER CLOSING CASE


The estate has been fully administered. Therefore, the Court orders:

1. Janet S Casciato−Northrup is discharged as trustee of the estate.

2. The Trustee's bond is cancelled.

3. The case is closed.




Signed and Entered on Docket: 5/15/23
